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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="eecab3de8d"&gt;&lt;span data-sentence-id="6529f94fd7" quote="false" data-paragraph-id="eecab3de8d"&gt; Melody Ramsey, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="a3859b8c2c" quote="false" data-paragraph-id="eecab3de8d"&gt; &lt;br /&gt; Ayo LaBode, Guardian ad Litem; Marcie McMinimee, Co-Conservator; Lindsay Andrew, Co-Conservator; Stephanie Conrardy, Guardian; O Limbaugh; Marshall Breit, Custodian; and Blake Renner.&lt;/span&gt; Respondents &lt;/p&gt;&lt;p data-paragraph-id="7c94d24df2"&gt;No. 22SC386&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1d582eef7d"&gt;July 25, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="5b9bfc59e1"&gt;&lt;span data-sentence-id="2a3e2f94ae" quote="false" data-paragraph-id="5b9bfc59e1"&gt; Court of Appeals Case No. 21CA1766 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
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